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      3   Modesto, CA 95354
          (209)579-2206/(209)579-2211 Fax
      4

      5   Attorney for Defendant
          ROBERTO VELASQUEZ
      6

      7                      IN THE UNITED STATES DISTRICT COURT
      8                             FOR THE EASTERN DISTRICT
      9

     10   UNITED STATES OF AMERICA,                )
                                                   )
     11                Plaintiff,                  )
                                                   ) CASE NO. CRF-04-5278 OWW
     12         vs.                                )
                                                   )
     13   ROBERTO VELASQUEZ                        ) STIPULATION AND ORDER TO
                    Defendant                      ) CONTINUE SENTENCING
     14                                            )
                                                   )
     15

     16

     17         Defendant ROBERTO VELASQUEZ through his attorney PRECILIANO

     18   MARTINEZ, and the United States of America, through its counsel

     19   of record, US Attorney KATHY SERVATIUS, stipulate and agree to

     20   the following:

     21
                IT IS HEREBY STIPULATED by and between the parties hereto,

     22
          and through their respective counsel of record herein, that the

     23
          sentencing hearing set for April 17, 2006, at 1:30pm, be

     24
          continued to May 15, 2006, at 1:30pm.

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                   Case 1:04-cr-05278-DAD Document 298 Filed 04/18/06 Page 2 of 3


      1   DATED: April 13, 2006                  /s/Kathy Servatius_____
                                                 KATHY SERVATIUS
      2
                                                 Assistant U.S. Attorney
      3                                          Attorney for Plaintiff

      4
          DATED: April 13, 2006                  /s/ Preciliano Martinez
      5
                                                 PRECILIANO MARTINEZ
      6                                          Attorney for Defendant

      7

      8

      9                                        ORDER

     10

     11

     12   It is so ordered.

     13

     14
          Dated:     ___April 17, 2006__              _/s/ OLIVER W. WANGER______
     15                                               OLIVER W. WANGER
                                                      U. S. District Judge
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